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AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                 Eastern District of New York

                          Unita Andre,                           )
                                                                 )
                                                                 )
                                                                 )
                            Plai ntiff(s)                        )
                                 v.                              )      Civil Action No.   24-cv-677
                                                                 )
                    Frances Needles, and
                     Naomi Mendelsohn,                           )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To.• (DeJ...endan t's n ame and ad'dress.11 Frances Needles and Naomi Mendelsohn
                                            75 Henry Street, Apt 17K
                                            Brooklyn, NY 11201




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                Abdul Hassan Law Group, PLLC
                                215-28 Hillside Avenue
                                Queens Village, NY 11427




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            BRENNA B. MAHONEY
                                                                            CLERK OF COURT


Date:     1/31/2024
                                                                                     Signature of Clerk or Deputy Clerk
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